Exhibit “B”
 1   THOMAS E. MONTGOMERY, County Counsel (State Bar No. 109654)
     County of San Di~gg
 2   By RONALD LENERT, Senior Deputy (State Bar No. 277434)
        CHRISTINA 1. VILASECA, Senior Deputy (State Bar No. 29091 0)
 3   1600 Pacific Highway Room 355
     San Diego, Calitornia 92 101-2469
 4   TeleP.110ne: (619) 531-5805; (619) 531-4896; Fax: (619) 531 -6005
     E-matl: rona1d.lenert@sdcounty.ca.gov
 5   E-mail: christina.vi]aseca@sdcounty.ca.gov
 6   Attorneys for Defendants County of San Diego (also erroneously sued as "San D iego
     Sheriffs Deparnnenf') William. D. GorekDrewBeatty, Adrien Carrillo (sued as "Adrian
 7   Carrillo"), Roland Garza, Joseph Kodade ,John Robledo Scott Rossall 'Frank Stalzer
     and Scott Winter
 8
 9                      IN THE UNITED STATES DISTRICT COURT
10                  FOR THE SOUTHERN DISTRICT OF CALIFORNIA
11
12   A.B., a minor, individua lly and as           No. 18cv1541-MMA-LL
     successor in interest to decedent,
13   Kristopher Bi11cher, by and through her       DEFENDANTS' AMENDED INITIAL
     GuardIan ad Litem,)~.yan Birtchel';           EXPERT DISCLOSURES
14   MICHAEL BIRTCHER individually; and
     CATHERINE BIRTCHER, individually,              [F.R.C.P. 26(a)(2)(A), (C)]
15
                 Plaintiffs,
16
           v.
17
     COUNTY OF SAN DIEGO; SAN D IEGO
18   SHERIFF'S DEPARTMENT; WILLIAM
     D. GORE, Sheriff; DREW BEATTY;
19   ADRIAN CARRILLO; ROLAND
     GARZA; JOSEPH KODADEK' JOHN
20   ROBLEDO; SCOTT ROSSAL(; FRANK
     ST ALZER; SCOTT WINTER; and DOES
21   1-10, inclusive,
22               Defendants.
23
24   TO:   PLAINTIFFS AND THEIR ATTORNEYS OF RECORD:
25         Defendants County of San Diego (also erroneously sued as "San Diego Sheriff s
26   Department"), William D. Gore, Drew Beatty, Adrien Carrillo (erroneously sued as
27   "Adrian Carrillo"), Roland Garza, Joseph Kodadek, John Robledo, Scott Rossall, Frank
28   Stalzer and Scott Winter (collectively, "Defendants") hereby make their initial expert

                                                                             18cv1541-MMA-LL
 1   disclosures pursuant to the provisions of Rule 26(a)(2), subdivisions (A) and (C), of the
 2   Federal Rules of Civil Procedure, as follows:
 3         Defendants disclose the following retained expert testimony, in accordance with
 4   Federal Rule of Civil Procedure 26(a)(2)(A):
 5         1.     Jeffrey Martin
 6         Mr. Martin is an expert in the fields of police procedures, use of force, use of
 7   electronic control weapons, and restraints. His curriculum vitae and fee schedule are
 8   attached as Exhibit A. Mr. Martin will provide testimony regarding the Defendants'
 9   tactics, including their use of T ASER devices and restraints. With respect to the T ASER
10   deployments in this case, Mr. Martin will also provide testimony as to this weapon's
11   operation and capabilities. He will discuss the uses of force applied to Kristopher
12   Birtcher during the incident, including why this use of force was reasonable. He will
13   also discuss the County's related policies and training programs, and their conformity
14   with national standards.
15         2.     Gary Michael Vilke, M.D.
16         Dr. Vilke is an expert in emergency medicine and physiology. His curriculum
17   vitae and fee schedule are attached as Exhibit B. Dr. Vilke will provide testimony on the
18   effects of methamphetamines and other drugs on Kristopher Birtcher. This will cover
19   history of use, degenerative effects, and tolerance. Dr. Vi Ike will also provide testimony
20   as to Mr. Birtcher's condition on the day of the incident and excited delirium, including
21   his altered mental state, decreased pain threshold, metabolic bum, and cardiac stress. Dr.
22   Vi Ike will provide testimony on emergency medical care provided to Mr. Birtcher,
23   including expected response time for first responders, acceptable practices, and that the
24   care rendered to Mr. Birtcher on the date of the incident was within accepted standards.
25         3.     Matthew Joseph Steiner, M.D., Q.M.E.
26         Dr. Steiner is an expert in the fields of drug addiction and rehabilitation. His
27   curriculum vitae and fee schedule is attached as Exhibit C. Dr. Steiner will provide
28   testimony on Mr. Birtcher's history of substance abuse and drug addiction. He will


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 1   testify regarding the cycles of drug addiction, and as to the probability that Mr. Birtcher
 2   would have broken his addictions, changed his behaviors, or improved his lifestyle. He
 3   will testify as to Mr. Birtcher's repeated failures at rehabilitation programs and their
 4   indications for Mr. Birtcher's future behavior. Dr. Steiner will testify as to the long term
 5   effects ofMr. Birtcher's drug use on his immunological functions, brain functions, life
 6   expectancy, and mental health.
 7         4.     Binh T. Ly, M.D., FACMT, FACEP
 8         Dr. Ly is an expert in the field of toxicology. His curriculum vitae and fee
 9   schedule are attached as Exhibit D. Dr. Ly will provide testimony on the presence of
10   methamphetamines and other drugs in Kristopher Birtcher, based on medical records and
11   reports. He will testify as to the expected effects of such drugs on Mr. Birtcher, both over
12   the course of his use and on the date of the incident. He will testify to chemicals in Mr.
13   Birtcher's bloodstream on the date of the incident, how they impaired him, and .the
14   symptoms Mr. Birtcher displayed consistent with those chemicals. Dr. Ly will testify
15   that the extent of Mr. Birtcher's drug use was a contributing factor to this death.
16         5.     Robert B. Hall, Ph.D.
17         Dr. Hall is an expert in the field of vocational rehabilitation. His curriculum vitae
18   and fee schedule are attached as Exhibit E. Dr. Hall will testify as to Kristopher
19   Birtcher's future employment prospects and earning capacity. He will testify to Mr.
20   Birtcher's educational history, employment history, and skills and training. He will
21   testify regarding the current and projected job market. Dr. Hall will also testify to Mr.
22   Birtcher's disabilities, addiction, criminal record, and other barriers in the cont~xt of his
23   ability to have secured or maintained employment.
24
25         Furthermore, Defendants have identified the witnesses below as those who may
26   present evidence under Federal Rules of Evidence 702, 703, or 705, but who are not
27   retained or specially employed by Defendants to provide expert testimony. In accordance
28   with the Court's operative scheduling order (Doc. No. 31), and with Federal Rule of Civil


                                                      3                          18cv1541-MMA-LL
 1   Procedure 26(a)(2)(C), Defendants submit the following summaries of these witnesses'
 2   expected testimony:
 3         6.     Robert Christopher Cross
 4         Lt. Cross is a San Diego County Sheriff employee and an expert in the fields of
 5   Defendant's polices and procedures, deputy training, and use of force. He will testify to
 6   law enforcement training in the areas of use of force, defensive tactics, arrest and control
 7   tactics, resistance perception, evasion techniques, summoning medical attention, PERT
 8   involvement, drug recognition in the field, and usage of restraints and equipment. Lt.
 9   Cross is expected to testify regarding national and state-wide training and performance
10   standards in the above-referenced areas; the County of San Diego's training of, and its
11   performance standards for, Sheriffs deputies in these areas, as well as its compliance
12   with the pertinent national and state-wide standards; the actions of the Sheriffs'deputies
13   in this case, and their compliance with the training they received, their performance
14   expectations, and County policies/procedures. Lt. Cross may also testify in rebuttal to
15   expert or opinion testimony in his area(s) of expertise.
16         7.     Robert C. Stabley, M.D.
17         The subject matter of Dr. Stabley's expected testimony includes: the decedent's
18   injuries, the cause(s) of death, and the medical examination (autopsy) of decedent's body
19   and related findings. Dr. Stabley is expected to testify about the decedent's death; the
20   definition of a "homicide" finding regarding cause of death; the decedent's time and
21   speed of death; the autopsy procedure undertaken in this case; and the findings within the
22   autopsy report and how each finding was reached.
23   DATED: May 1,2019                THOMAS E. MONTO
24
                                      By:          Ie:
25                                          RONALD LE RT Senior Deputy
                                      Attorneys for Defendants County: of San Diego'(also
26                                    erroneously sued as "San Diego Sheriff's Depaliment"),
                                      William D. Gore, Drew Beatty, Adrien CalTiIlo (sued as
27                                    "Adrian Carrillo"), Roland Garza, Joseph Kodadek, John
                                      Robledo, Scott Rossall, Frank Stalzer and Scott Winter
28


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                           DECLARATION OF SERVICE

      I, the undersigned, declare:

       That I am over the age of eighteen years and not a party to the case; I am
employed in, or am a resident of, the County of San Diego, California where the service
occurred; and my business address is: 1600 Pacific Highway, Room 355, San Diego,
California.

     On May 2,2019, I served the following docwuents: DEFENDANTS' AMENDED
INITIAL EXPERT DISCLOSURES. in the following manner:

[gJ   By placing a copy in a separate envelope, with postage fully prepaid, for each
      addressee named below and depositing each in the U. S. Mail at San Diego,
      California.


[gJ   By emailing a copy of the foregoing document this date to the email address( es)
      listed below, respectively. I did not receive within a reasonable period of time
      after the transmission any electronic message or other indication that the
      transmission was unsuccessful.

Dale K. Galipo, Esq.                         John Fattahi, Esq.
Hang D. Le, Esq.                             Law Offices of John Fattahi
Law Offices of Dale K. Galipo                21250 Hawthorne Boulevard, Suite 700
21800 Burbank Boulevard, Suite 310           Torrance, CA 90503
Woodland Hills, CA 91367                     Email: jfattahi@gmai1.com
E-mail: dalekgalipo@yahoo.com
E-mail: hlee@gaLipolaw.com


     I declare under penalty of perjury that the foregoing is true and correct. Executed
on May 2,2019, at San Diego, California.




                                              MICHELLE MARTINEZ




A.B. et a1 v. County of San Diego, et a1.; USDC No. 18-CV-1541-MMA-LL
